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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS

 AMENTUM ENVIRONMENT & ENERGY,
 INC.,

                          Plaintiff,
                                                    Case No. 20-2016 C
                  v.
                                                    Judge Silfen
 THE UNITED STATES OF AMERICA,

                          Defendant.


              JOINT STATUS REPORT REGARDING STATUS OF DISCOVERY

        The parties, plaintiff Amentum Environment & Energy, Inc., formerly known as URS

Energy & Construction, Inc. (“URS”), and defendant the United States of America (the

“Government”), have been conducting discovery under a scheduling order that requires them to

jointly submit a status report every 30 days updating the court on the progress of discovery. ECF

No. 50. The parties therefore respectfully submit this joint status report updating the Court on

the status of their efforts.

        Since the parties’ last status report, the parties have continued to conduct depositions:

The depositions of three fact witnesses occurred on November 20, 2024, December 10, 2024,

and December 12, 2024. The depositions of two additional fact witnesses are scheduled for the

week of January 13, 2025. The parties have coordinated a subpoena for documents from a third

party, in response to which documents will be produced by January 31. In addition, the parties

have noticed, and are in the process of scheduling, eleven additional individual fact witness

depositions and two additional Rule 30(b)(6) depositions for January, February, and March 2025.
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Respectfully submitted,

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 Dated: December 20, 2024
